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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

VOLKSWAGEN GROUP OF AMERICA,
INC.,                                               Case No. 20-cv-03128

              Plaintiff,                            Judge John F. Kness
v.
                                                    Magistrate Judge Young B. Kim
AUKUR-US, et al.,

              Defendants,


                     NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Volkswagen

Group of America, Inc. (“Plaintiff”) hereby dismisses this action, with leave to reinstate within

one hundred and eighty (180) days, as to the following Defendants:

               Defendant Name                                        Line No.
                 CARPAPA                                                 3
               RISHENG KEJI                                             13
                     sholer                                             14
                  Auto Parts                                            55
                   lidewang                                             76
                  xiangyiqiu                                           101




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Dated this 10th day of August 2020.   Respectfully submitted,


                                      /s/ Allyson M. Martin____________
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                                      Justin R. Gaudio
                                      Allyson M. Martin
                                      Thomas J. Juettner
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